          Case 1:21-cr-00222-TFH Document 42 Filed 10/25/21 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                Plaintiff,

        V.                                            CASE NO. 1:21-CR-222


 GEORGE PIERRE TANIOS,

                Defendant.




              DEFENDANT’S UNOPPOSED IN PART, MOTION TO
                        MODIFY BOND CONDITIONS
       Comes now, the Defendant, George Tanios, through counsel, Elizabeth B. Gross, Assistant

Federal Public Defender, and respectfully moves this Honorable Court to modify the conditions of

bond so that he is no longer subject to home detention, but instead subject to a curfew release.


       This modification would allow for Mr. Tanios to come and go from his home during hours

approved by this Court, while still keeping Mr. Tanios in the home at other specific times deemed

appropriate. We submit this modification due to many issues arising out of Mr. Tanios’s home

detention which have prohibited him from getting to multiple doctor’s appointments, attending

meetings at undersigned counsel’s office, getting exercise, searching for employment, as well as

wrapping up loose business issues at his former sandwich shop.


       Specifically, Mr. Tanios has two medical appointments which will need rescheduled. The

first, with Dr. Salman, who provides psychiatric care in Bridgeport, West Virginia. The second,

with Atlas Chiropractic in Morgantown, West Virginia. Further, after speaking with Mr. Tanios

often, it is apparent that Mr. Tanios is facing some serious mental health and physical health


                                                 1
            Case 1:21-cr-00222-TFH Document 42 Filed 10/25/21 Page 2 of 4




problems after his incarceration. Mr. Tanios would benefit from seeing a professional for these

issues.


          Mr. Tanios has a multitude of business and financial troubles since incarceration. Mr.

Tanios has three small children and a wife to support at home. Mr. Tanios wants to financially

support himself and his family. Mr. Tanios is financially not able to continue his sandwich

business at this time. He is in the process of selling the business to another local business person.

In order to sell the business and get out of his current business lease, he needs to clean out the shop

and transfer property to the buyer. Mr. Tanios would like to be permitted to do that so he can

avoid further financial despair.


          Mr. Tanios recently acquired employment at a local pizza shop, The Pizza Place, located

at 3011 Northpointe Plaza, in Morgantown, West Virginia, as a cook. The schedule for his first

month would be from Wednesday to Saturday 4:00pm-9:00pm. Once trained, he would be moved

to cover the shop’s night shift from Wednesday to Saturday from 8:00pm-2:30am. He requests

that the Court grant him the ability to accept this position and approving this employment

opportunity.


          As of the last status hearing, the pretrial services report noted that Mr. Tanios has no known

violations to date and has not had any issues on home detention. Due to his compliance on home

detention and his need to leave his home to tend to both medical and financial needs, Mr. Tanios

though counsel, asks this Court to modify the conditions of his bond to give him the opportunity

to tend to these important appointments and employment needs.


          The government does not oppose two aspects of Mr. Tanios’s modification. Undersigned

counsel spoke with the United States Attorney’s office though counsel, Mr. Scarpelli and Mr. Light


                                                    2
         Case 1:21-cr-00222-TFH Document 42 Filed 10/25/21 Page 3 of 4




regarding this motion this morning. The government has no objection to Mr. Tanios working the

above listed schedule, including a half hour commute to and from his new place of employment.

Further, the government has no objection to Mr. Tanios seeking healthcare treatment at the above

listed doctor as long as undersigned counsel sends scheduled appointment dates to the government,

United States Probation, and the Court; in advance of such appointments if needed.


       WHEREFORE, based on the foregoing, and the fact that the Defendant has been in

compliance with the court order to date, there are good grounds to consider modifying the

condition of home detention.


                                             Respectfully submitted,

                                             GEORGE PIERRE TANIOS


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                                                3
         Case 1:21-cr-00222-TFH Document 42 Filed 10/25/21 Page 4 of 4




                             CERTIFICATION OF SERVICE


       I hereby certify that on October 25, 2021, Ielectronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia under seal. A copy

of which will be sent to the following via email.


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